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                  UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                       CASE NO.: 6:22-cv-00073-RBD-LHP


ASHLEY FRANCIS,

          Plaintiff,

v.

ACCOUNT RESOLUTION SERVICES,
LLC,


         Defendant.
_____________________________________/

     AMENDED JOINT NOTICE OF MEDIATOR SELECTION AND
              NOTICE SCHEDULING MEDIATION

      Pursuant to the Court’s Scheduling Order [DE 17], and Order of Referral

to Mediation [DE 19], undersigned counsel have selected A. Michelle Jernigan

of Upchurch Watson White & Max to mediate this matter. The parties have

agreed that mediation is set before Michelle Jernigan, on Thursday, October

6, 2022, at 9:00 a.m., via Zoom.

Dated this 21st day of June 2022.

 /s/ Daniel Brennan                     /s/ Ernest H. Kohlmyer, III
 Daniel Brennan, Esq.                   Ernest H. Kohlmyer, III, Esquire
 Florida Bar No. 43395                  Florida Bar No. 110108
 daniel@crlam.com                       Skohlmyer@shepardfirm.com
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Case 6:22-cv-00073-RBD-LHP Document 22 Filed 06/21/22 Page 2 of 2 PageID 139




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 Attorneys for Plaintiff                 Telephone (407) 622-1772
                                         Facsimile (407) 622-1884
                                         Healthcare Revenue Recovery
                                         Group, LLC d/b/a ARS Account
                                         Resolution Services


                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on June 21, 2022, via the Clerk of Court’s CM/ECF system. I further

certify that the foregoing has been sent via electronic transmission to the

following: Daniel Brennan, Esquire at daniel@crlam.com (Attorneys for

Plaintiff).

                                          /s/ Ernest H. Kohlmyer, III
                                          Ernest H. Kohlmyer, III
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